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 7   PHILLIP BAILEY
 8                                UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

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12                                                         CASE NO.: 2:19-CR-00231-WBS
       UNITED STATES OF AMERICA
13
                PLAINTIFF                                  STIPULATION AND ORDER
14                                                         CONTINUING BAIL HEARING
15
      PHILLIP BAILEY
16
                       DEFENDANT
17

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                                            I.      STIPULATION
21
         Defendant Phillip Bailey by and through his counsel of record and plaintiff United States of
22
     America, by and through its counsel of record, hereby stipulate that the previously-scheduled
23   bail review hearing, currently set for April 7, 2020, be vacated and that the matter be reset for
24   April 9, 2022 at 2:00 p.m.
25       The continuance is requested so that the Government may have sufficient time to file a
26   response to defendant’s motion and so that the Court may have the opportunity to review the

27   filings.
                                                      1
28   STIPULATION TO CONTINUE
     BAIL HEARING, ORDER
            Case 2:19-cr-00231-WBS Document 114 Filed 04/06/20 Page 2 of 3


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 2         IT IS SO STIPULATED.
 3

 4
           Dated: April 3, 2020
 5
                                                   /s/ Alin D. Cintean
 6                                                 Alin D. Cintean
 7
                                                   Attorney for Phillip Bailey

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 9                                                 /s/ Cameron Desmond
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                                                   Cameron Desmond
                                                   Assistant United States Attorney
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28   STIPULATION TO CONTINUE
     BAIL HEARING, ORDER
              Case 2:19-cr-00231-WBS Document 114 Filed 04/06/20 Page 3 of 3


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 2                                               ORDER
 3   The Stipulation of the parties is hereby accepted and the requested continuance is GRANTED.

 4
     This matter shall be dropped from this court’s April 7, 2020 criminal calendar and re-calendared
     for a bail hearing on April 9, 2020.
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     IT IS SO ORDERED.
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     Dated: April 6, 2020
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28   STIPULATION TO CONTINUE
     BAIL HEARING, ORDER
